   Case 3:20-cv-00583-E Document 15 Filed 01/11/21   Page 1 of 6 PageID 153



                         CAUSE NO. 3:20M-CV-00583-E



                       JENNINGS, et al. v. ABBOTT, et al.


               IN THE UNITED STATES DISTRICT COURT FOR
           THE NORTHERN DISTRICT OF TEXAS, DALLAS DIVISION



           PLAINTIFFS’ MOTION TO EXTEND TIME FOR SERVICE


      Plaintiffs DAPHNEY JENNINGS and DEANDRE JENNINGS respect-

fully file this Motion to the Honorable Court’s Order (Dec. 31, 2020), ordering

Plaintiffs to show cause as to why their claims should be retained as to cer-

tain unserved defendants.



                                            I.

                                  INTRODUCTION

      1.     Plaintiffs are DAPHNEY JENNINGS and DEANDRE JENNINGS;

defendants are GREGORY WAYNE ABBOTT, AMBER DAVIDSON,

AMANDA HAINES, JAIME MASTERS, WARREN KENNETH PAXTON, JR,

COURTNEY N PHILLIPS, and RHONDA WEST.

      2.     Plaintiffs sued defendants for claims under 42 U.S.C. § 1983.



Plaintiffs’ Motion to Extend Time for Service                      Page 1 of 6
   Case 3:20-cv-00583-E Document 15 Filed 01/11/21   Page 2 of 6 PageID 154



        3.   This suit was filed on March 6, 2020; a summons for each de-

fendant was issued on March 9, 2020.

        4.   Service on each defendant was to be executed ninety (90) days

after the filing of the complaint, or June 4, 2020; such service did not occur.

        5.   The Honorable Court issued an Order (Dec. 31, 2020), requiring

Plaintiffs to show cause as to why their claims as against such unserved

defendants should be retained by on the Court’s docket.

        6.   The Order (Dec. 31, 2020) provided notice to plaintiffs of the de-

ficiencies of their failure to take further steps with respect to the unserved

defendants, and such notice was after the deadline to seek relief an exten-

sion.



                                           II.

                                     ARGUMENT

        7.   A court must grant a request for additional time to serve a de-

fendant on a showing of good cause. Fed. R. Civ. P. 4(m); Brooks v. John-

son, 924 F.3d 104, 120–21 (4th Cir. 2019); Lemoge v. United States, 587

F.3d 1188, 1198 (9th Cir. 2009).

        8.   Even if no good cause is shown, a court has discretion to extend

the time to serve the defendant. Kurka v. Iowa Cty., 628 F.3d 953, 957 (8th


Plaintiffs’ Motion to Extend Time for Service                      Page 2 of 6
   Case 3:20-cv-00583-E Document 15 Filed 01/11/21     Page 3 of 6 PageID 155



Cir. 2010); Lemoge, 587 F.3d at 1198; see Henderson v. United States, 517

U.S. 654, 662 (1996); Zapata v. City of N.Y., 502 F.3d 192, 196–97 (2d Cir.

2007).

      9.     A court may grant a motion to extend time filed after the deadline

if the motion shows proof of good cause and if the failure to act timely was

the result of excusable neglect. Fed. R. Civ. P. 6(b)(1)(B); In re Cendant

Corp. Prides Litig., 233 F.3d 188, 195–96 (3d Cir. 2000).

      10.    In determining whether there is excusable neglect, a court should

consider the following: (1) the prejudice to the nonmovant, (2) the length of

the delay and its potential impact on the judicial proceedings, (3) the reason

for the delay and whether it was within the reasonable control of the movant,

and (4) whether the movant acted in good faith. Yesudian v. Howard Univ.,

270 F.3d 969, 971 (D.C. Cir. 2001); see Pioneer Inv. Servs. Co. v. Brunswick

Assocs. Ltd. P'ship, 507 U.S. 380, 395 (1993).

      11.    The Court should grant Plaintiffs’ request for an extension of time

to serve the unserved defendants for a period not less than sixty (60) days

from the date of an order granting the same, because:

                    a.    no prejudice will result to the unserved defendants as

                          a result of any such extension;

                    b.    the delay in not serving the unserved defendants has


Plaintiffs’ Motion to Extend Time for Service                       Page 3 of 6
   Case 3:20-cv-00583-E Document 15 Filed 01/11/21       Page 4 of 6 PageID 156



                          not been unreasonable and plaintiffs have filed this

                          motion to extend time as soon as they received notice

                          of the need for additional time and that the deadline

                          for service had passed;

                    c.    the potential impact of the delay on the judicial pro-

                          ceedings is not significant;

                    d.    the reasons for the delay and the failure to timely take

                          notice of the deficiencies are primarily due, primarily,

                          due to the chaos due to the ongoing COVID-19 pan-

                          demic; and

                    e.    Plaintiffs have acted in good faith, prior to the dead-

                          line, by attempting to serve some of the defendants,

                          notwithstanding not successfully executing service,

                          as evidenced by the due diligence affidavits filed im-

                          mediately prior to the filing of this Motion.



                                           III.

                                   CONCLUSION

       FOR THE FOREGOING REASONS, Plaintiffs respectfully ask the




Plaintiffs’ Motion to Extend Time for Service                             Page 4 of 6
   Case 3:20-cv-00583-E Document 15 Filed 01/11/21            Page 5 of 6 PageID 157



Honorable Court to extend the time for Plaintiffs to perfect service or rem-

edy deficiencies in service, on the unserved defendants, by a period not less

than sixty (60) days from the date of the Court’s order, granting relief in con-

formity with this Motion.



                                                Respectfully submitted,




                                                Naval H. Patel
                                                State Bar No. 24083629
                                                np@patelfuller.com
                                                Seth A. Fuller
                                                State Bar No. 24064126
                                                sf@patelfuller.com
                                                Patel Fuller, PLLC
                                                1211 E. 15th St.
                                                Plano, TX 75074-6207
                                                P     214-810-3120
                                                F     214-722-6809

                                                Counsel for Plaintiffs




Plaintiffs’ Motion to Extend Time for Service                              Page 5 of 6
   Case 3:20-cv-00583-E Document 15 Filed 01/11/21           Page 6 of 6 PageID 158



                           CERTIFICATE OF SERVICE


      I, the undersigned counsel, hereby certify that I served a true and cor-

rect copy of the foregoing document, together with all exhibits, attach-

ments, notices, and proposed orders thereto, if any, on all counsel of record,

via the CM/ECF system.



CERTIFIED TO on January 11, 2021 by:




                                                Naval H. Patel




Plaintiffs’ Motion to Extend Time for Service                             Page 6 of 6
